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 1    BRUCE A. KILDAY, ESQ. SBN 66415
      DOUGLAS R. THORN, ESQ., SBN 133521
 2    ANGELO, KILDAY & KILDUFF
      Attorneys at Law
 3    601 University Avenue, Suite 150
      Sacramento, CA 95825
 4    Telephone: (916) 564-6100
      Telecopier: (916) 564-6263
 5    Emails: bkilday@akk-law.com
              dthorn@akk-law.com
 6
 7    Attorneys for Defendants CITY OF DAVIS, JAMES HYDE and JOHN WILSON
 8
 9                               UNITED STATES DISTRICT COURT
10                             EASTERN DISTRICT OF CALIFORNIA
11
12    TIMOTHY C. NELSON,                            )     Case No.: 2:05–cv–1193–MCE–KJM
                                                    )
13                                 Plaintiff,       )     STIPULATION AND PROPOSED
                                                    )     ORDER CONTINUING HEARING DATE
14           vs.                                    )     ON MOTIONS FOR SUMMARY
                                                    )     JUDGMENT OR PARTIAL SUMMARY
15    CITY OF DAVIS; et al.,                        )     JUDGMENT
                                                    )
16                                 Defendants.      )     Date: February 12, 2007
                                                    )     Time: 9:00 a.m.
17                                                  )     Courtroom: 3
                                                    )     Judge: Honorable Morrison C. England, Jr.
18
19           IT IS HEREBY STIPULATED by all parties that Defendants’ Motions for Summary
20    Judgment currently set for February 12, 2007 at 9:00 a.m. in Courtroom 3 are continued to
21    March 5, 2007 at 9:00 a.m. in Courtroom 3 before Judge Morrison C. England, Jr.
22           The reason for this continuance is counsel for Defendants City of Davis, James Hyde and
23    John Wilson is unavailable on February 12, 2007 due to a prepaid vacation.
24     Dated: January 12, 2007                          ANGELO, KILDAY & KILDUFF
25                                                               /s/ Douglas R. Thorn
26                                                      By:_________________________________
                                                           DOUGLAS R. THORN
27                                                         Attorneys for Defendants CITY OF
                                                           DAVIS, JAMES HYDE and JOHN
28                                                         WILSON




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     Case 2:05-cv-01193-MCE-CKD Document 105 Filed 01/12/07 Page 2 of 2


 1     Dated:                                      WILKE, FLEURY, HOFFELT, GOULD &
                                                   BIRNEY, LLP
 2
 3                                                           /s/ Kim Johnston
                                                   By:_________________________________
 4                                                    KIM JOHNSTON
                                                      Attorneys for Defendant CALVIN
 5                                                    CHANG
 6
 7     Dated: January 10, 2007                     GORDON & REES, LLP

 8                                                       /s/ Mark S. Posard
                                                   By:_________________________________
 9
                                                      MARK S. POSARD
10                                                    Attorneys for Defendants CALVIN
                                                      HANDY,          OFFICER    JAVIER
11                                                    BARRAGAN,          OFFICER  MARY
                                                      GARCIA
12
13
14     Dated: January 10, 2007                     LAW OFFICES OF JOHN L. BURRIS

15                                                              /s/ Adante D. Pointer
                                                   By:_________________________________
16
                                                      ADANTE D. POINTER
17                                                    Attorneys for Plaintiff TIMOTHY C.
                                                      NELSON
18
19                                           ORDER
20           The hearing date on Defendants’ Motions for Summary Judgment currently set for
21    February 12, 2007 is continued to March 5, 2007 at 9:00 a.m. in Courtroom 3 before Judge
22    Morrison C. England, Jr.
23    DATED: January 12, 2007
24
                                           __________________________________
25                                         MORRISON C. ENGLAND, JR
                                           UNITED STATES DISTRICT JUDGE
26
27
28




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